                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                      CRIMINAL DOCKET NO. 3:04cr255-V

UNITED STATES OF AMERICA                 )
                                         )
                                         )
             vs.                         )             ORDER
                                         )
                                         )
ALBERTO SANMIGUEL, JR. - 1               )
ALBERTO SANMIGUEL, III - 2               )
                                         )

      THIS MATTER is before the Court on its own motion to continue the captioned

criminal matter from the 25 July 2005 term in the Charlotte Division.

      The Court finds that the Defendants' cases are "joined for trial with a co-defendant

as to whom the time for trial has not run and no motion for severance has been granted,"

18 U.S.C. § 3161(h)(7), and that failure to continue this matter would result in a

miscarriage of justice. 18 U.S.C. § 3161(h)(8)(B)(i). The Court further finds that the ends

of justice served by taking such action outweigh the best interest of the public and the

Defendants to a speedy trial.

      IT IS, THEREFORE, ORDERED that this case is hereby continued from the July

2005 term in the Charlotte Division to the 26 September 2005 trial term.




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                       Signed: July 13, 2005




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